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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
                                                       )
 In re                                                 )     Chapter 11
                                                       )
 RESIDENTIAL CAPITAL, LLC, et al.,                     )     Case No. 12-12020 (MG)
                                                       )
                                  Debtors.             )     Jointly Administered
                                                       )

                DECLARATION OF GERARD UZZI IN CONNECTION WITH
                     CHANGED VOTES OF MEMBERS OF AD HOC
                 GROUP OF JUNIOR SECURED NOTEHOLDERS ON PLAN
                 PROPONENTS’ SECOND AMENDED CHAPTER 11 PLAN

 I, GERARD UZZI, declare as follows:

                 1.       I am a partner with the firm of Milbank Tweed Hadley & McCloy LLP,

 counsel to (i) UMB Bank, N.A., as successor Notes Trustee (in such capacity, the “Notes

 Trustee”) under that certain Indenture dated as of June 6, 2008 for 9.625% Junior Secured

 Guaranteed Notes due 2015 of Residential Capital, LLC; and (ii) the Ad Hoc Group of Junior

 Secured Noteholders (the “Ad Hoc Group”).

                 2.       On December 3, 2013, the Plan Proponents filed the Joint Chapter 11

 Plan Proposed by Residential Capital, LLC, et al. and the Official Committee of Unsecured

 Creditors [Dkt. No. 5993] (as may be amended, supplemented, or modified, the “Second

 Amended Plan”).1

                 3.       The Second Amended Plan reflects a compromise and settlement of

 disputed issues relating to the Junior Secured Notes (the “JSN Settlement”).

                 4.       Prior to the Voting Deadline, holders of the Junior Secured Notes Claims

 in Classes R-3, GS-3, and RS-3 voted in amount and number to reject the First Amended Joint


 1
         Capitalized terms not defined herein have the meanings ascribed to such terms in the Second Amended
         Plan.



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 Chapter 11 Plan Proposed by Residential Capital, LLC et al. and the Official Committee of

 Unsecured Creditors [Docket No. 5722] (the “Original Plan”).2

                5.       As a component of the JSN Settlement, holders of Junior Secured Notes

 Claims have been provided with the opportunity to change their votes in connection with the

 Second Amended Plan. Each holder of a Junior Secured Note Claim that previously voted to

 reject the Original Plan but that has agreed to change its vote to an accepting vote prior to the

 Confirmation Date is considered a “Consenting JSN” as such term is defined and used in the

 Second Amended Plan.

                6.       Holders of Junior Secured Notes Claims were notified of the opportunity

 to change their votes by the following methods: (i) the Plan Proponents’ filing of the Notice of

 Proposed Resolution of Litigation Regarding Junior Secured Notes Claims and Opportunity to

 Change Voted with Respect to Second Amended Plan (the “Vote Change Notice”) [Docket No.

 5998]; and (ii) the Junior Secured Notes Indenture Trustee’s dissemination of a similar notice to

 the holders of Junior Secured Notes Claims through the electronic notification system of the

 Depository Trust Company. In addition, members of the Ad Hoc Group were notified by myself

 and/or certain of my colleagues at Milbank of the opportunity to change their votes.

                7.       Annexed hereto as Exhibit A is a matrix indicating the original and

 changed votes of the holders of Junior Secured Notes Claims that are members of the Ad Hoc

 Group or managed by members of the Ad Hoc Group.

                8.       Each of the current members of the Ad Hoc Group either holds Junior

 Secured Notes Claims for its own account (the “Direct Holders) or is an investment advisor or

 manager (the “Investment Managers”) that manages the investments of the funds listed opposite

 2
        See Affidavit of P. Joseph Morrow IV Certifying the Tabulation of Votes on the Joint Chapter 11 Plan
        Proposed by Residential Capital, LLC, et al. and the Official Committee of Unsecured Creditors.



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 their names on Exhibit A.3 Each of these funds (the “Managed Funds”) is a Junior Secured

 Noteholder that submitted a ballot to its custodian voting to reject the Original Plan prior to the

 Voting Deadline. The Direct Holders, Investment Managers or Managed Funds, or their

 respective successors, have furnished Milbank with (a) a writing confirming their request to

 change their vote to one accepting the Second Amended Plan, and (ii) supporting documentation

 with respect to their submission of ballots in connection with the Original Plan.

                9.       KCC has represented to Milbank that certain of the Managed Funds were

 not included on Master Ballots actually transmitted to KCC. As to just these votes, the Debtors,

 in consultation with counsel to the Ad Hoc Group, have elected to count the accepting changed

 votes received from such funds as initial votes to accept the Second Amended Plan. I have been

 informed that even if these votes were disregarded, each of Classes R-3, G-3 and RS-3 would

 nevertheless be accepting classes based upon the amount and number of original ballots actually

 received that have now otherwise agreed to change their votes.

                10.      The copies of the original ballots, together with the information contained

 in Exhibit A, was provided to the Debtors’ advisors, including Kurtzman Carson Consultants

 LLC. Milbank attorneys worked with such advisors to tabulate the revised voting results. Each

 current member of the Ad Hoc Group has either voted or caused its Managed Funds to vote to

 accept the Second Amended Plan. Accordingly, the Ad Hoc Group unanimously supports the

 Second Amended Plan. Finally, each of the Direct Holders, Investment Managers and Managed

 Funds listed in Exhibit A is a Consenting JSN.


 3
        As reflected in Exhibit A, the members of the Ad Hoc Group are: (i) Alliance Bernstein LP; (ii) Aurelius
        Capital Management, LP; (iii) Archview Investment Group LP; (iv) Davidson Kempner Capital
        Management; (v) Intermarket Corporation; (vi) KS Management Corporation; (vii) Marathon Asset
        Management; (viii) Pentwater Capital Management L.P.; (ix) Silver Point Capital, L.P.; (x) UBS AG;
        (xi) Venor Capital Management; and (xii) York Capital Management. UBS AG holds its position for its
        own account.



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               I declare, under the penalty of perjury, that the foregoing is true and correct to the

 best of my knowledge, information, and belief.

 Dated: December 10, 2013
        New York, New York

                                                      /s/ Gerard Uzzi
                                                      Gerard Uzzi




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                                                                Managed Funds

                                                                                                      Current
      Investment Manager                   Managed Fund                         Prior Vote
                                                                                                       Vote
Alliance Bernstein LP
                                 ACM Global High Yield – offshore     Reject                 Accept


                                 Alliance Bernstein High Income       Reject                 Accept


                                 AB Global High Income Fund           Reject                 Accept


                                 Alliance Bernstein US High Yield
                                                                      Reject                 Accept
                                 Fund


                                 Alliance Bernstein HY Pooling Fund   Reject                 Accept

Aurelius Capital
Management, LP                   Aurelius Capital Master Ltd.         Reject                 Accept


                                 ACP Master, Ltd.                     Reject                 Accept


                                 Aurelius Convergence Master, Ltd.    Reject                 Accept

Archview Investment Group LP
                                 Archview Fund LP                     Reject                 Accept


                                 Archview Master Fund Ltd.            Reject                 Accept

Davidson Kempner Capital         Davidson Kempner Institutional
Management                                                            Reject                 Accept
                                 Partners
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                                                                                                   Current
      Investment Manager                 Managed Fund                        Prior Vote
                                                                                                    Vote
                               Davidson Kempner International
                                                                    Reject                Accept
                               Limited


                               Davidson Kempner Partners            Reject                Accept


                               M.H. Davidson & Co.                  Reject                Accept

Intermarket Corporation
                               Fernwood Associates LLC              Reject                Accept


                               Fernwood Restructurings Limited      Reject                Accept


                               Fernwood Foundations LLC             Reject                Accept

KS Management Corporation
                               VS Capital                           Reject                Accept


                               VS International                     Reject                Accept

Marathon Asset Management
                               Master SIF Master SIF SICAV SIF      Reject                Accept

                                                                    Reject
                               MV Credit Opportunity Fund LP                              Accept


                               Innocap Fund SICAV PLC in respect    Reject
                                                                                          Accept
                               of Mason Sub- Fund




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                                                                                                    Current
      Investment Manager                 Managed Fund                         Prior Vote
                                                                                                     Vote

                               KTRS Credit Fund LP                   Reject                Accept


                               Innocap Fund SICAV PLC in respect     Reject
                                                                                           Accept
                               of Russell Sub- Fund

                               Corporate Debt Opportunities Fund
                                                                     Reject                Accept
                               LP

                               Marathon Credit Dislocation Fund
                                                                     Reject                Accept
                               LP

                               Marathon Centre Street Partnership
                                                                     Reject                Accept
                               LP

                               Marathon Credit Opportunity Master
                                                                     Reject                Accept
                               Fund Ltd.

                               Marathon Special Opportunity
                                                                     Reject                Accept
                               Master Fund Ltd

                               Lyxor/Marathon Distressed
                                                                     Reject                Accept
                               Opportunities Fund Ltd


                               Penteli Master Fund Ltd               Reject                Accept


                               Marathon Liquid Credit Long Short
                                                                     Reject                Accept
                               Fund
Pentwater Capital Management   LMA SPC for and on behalf of MAP
L.P.                                                                 Reject                Accept
                               98 Segregated Portfolio




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                                                                                                        Current
       Investment Manager                  Managed Fund                           Prior Vote
                                                                                                         Vote

                                 Oceana Master Fund Ltd.                 Reject                Accept


                                 Pentwater Credit Opportunities
                                                                         Reject                Accept
                                 Master Fund Ltd.

                                 Pentwater Event Equity Reflection
                                                                         Reject                Accept
                                 Fund


                                 PWCM Master Fund Ltd.                   Reject                Accept

Silver Point Capital, L.P.
                                 Silver Point Capital Fund, L.P.         Reject                Accept


                                 Silver Point Capital Fund, L.P.         Reject                Accept


                                 Silver Point Capital Offshore Master
                                                                         Reject                Accept
                                 Fund, L.P.

                                 Silver Point Capital Offshore Master
                                                                         Reject                Accept
                                 Fund, L.P.

                                 Silver Point Capital Offshore Master
                                                                         Reject                Accept
                                 Fund, L.P.
Venor Capital Management
                                 Venor Capital Master Fund Ltd.          Reject                Accept


                                 MAP 139 Segregated Portfolio of
                                                                         Reject                Accept
                                 LMA SPC




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                                                                                                                   Current
      Investment Manager                Managed Fund                           Prior Vote
                                                                                                                    Vote
York Capital Management
                              York Credit Opportunities Fund, L.P.    Reject                         Accept


                              York Credit Opportunities               Reject                         Accept
                              Investments Master Fund, L.P.

                                                                      Reject                         Accept
                              DBx-Event Driven 2 Fund


                              Jorvik Multi –Strategy Master Fund,     Reject                         Accept
                              L.P.

                                                                      Reject                         Accept
                              Lyxor/York Fund Ltd.


                              York Multi-Strategy Master Fund,        Reject                         Accept
                              L.P.

                                                                      Reject                         Accept
                              York Capital Management, L.P.

                                                                      Reject                         Accept
                              Permal York, Ltd.




                                                              Direct Holders

                                                                                                              Current
              Direct Holder                                    Prior Vote
                                                                                                               Vote
UBS AG
                                          Reject                                            Accept




                                                                     -5-
